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 6
 7
                               UNITED STATES DISTRICT COURT
 8
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
10    UNITED STATES OF AMERICA,                      SA CR No. 19-061-JVS
11                Plaintiff,                         DEFENDANT’S MOTION FOR
                                                     MISTRIAL OR, IN THE ALTERNATIVE,
12                       v.                          TO STRIKE THE TESTIMONY OF NINE
                                                     GOVERNMENT WITNESSES DUE TO
13    MICHAEL JOHN AVENATTI,                         VIOLATIONS OF THE JENCKS ACT
                                                     AND RULE 26.2
14                Defendant.
15
16          Defendant MICHAEL JOHN AVENATTI (“Mr. Avenatti”) by and through his
17    advisory counsel of record, H. Dean Steward, hereby files this motion for mistrial or, in
18    the alternative, to strike the testimony of nine government witnesses due to violations of
19    the Jencks Act and Rule 26.2. Defendant’s motion is based on the attached memorandum
20    of points and authorities; the exhibits filed concurrently herewith; the files, records and
21    transcripts in this case; and such further evidence and argument as the Court may permit
22    at a hearing on this matter.
23     Dated: August 2, 2021                     Respectfully submitted,
24
                                                /s/ Michael J. Avenatti
25
26
                                                Defendant
27                                              MICHAEL JOHN AVENATTI
28
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2
 3       I.      INTRODUCTION
 4            On January 25, 2021, the Court issued an Order continuing Mr. Avenatti’s jury

 5    trial from February 23, 2021 until July 13, 2021. [Dkt. 407]. In that same Order, the
      Court indicated that the “Deadline to Disclose Jencks Act Materials and Witness
 6
      Statements” was set for June 14, 2021. [Dkt. 407, p. 3].
 7
              Since this time, Mr. Avenatti has made repeated demands that the government
 8
      comply with its obligations under the Jencks Act and Rule 26.2. [Dkt. 511 (Defendant’s
 9
      Status Report for June 28, 2021 Status Conference), Dkt. 535 (Defendant’s Trial Brief),
10
      Dkt. 561 (Trial Motion for Disclosure of Jencks Act / 26.2 Materials)]. Indeed, early in
11
      the trial, in response to Mr. Avenatti again raising the issue, the Court instructed Mr.
12
      Avenatti: “The Government’s under an ongoing obligation with respect to each witness
13
      to provide any Jencks material that has not been provided by the time the witness
14    finishes his direct. There’s no need to make that request every time, Mr. Avenatti.” See,
15    e.g., Trial Tr. (7/21/21, Vol. 2) 5.
16            Of the eleven government witnesses that have testified thus far, testimony has
17    been elicited on cross-examination from nine of the witnesses that establishes that
18    materials and information required to be provided to the defendant before cross-
19    examination began were withheld and continue to be withheld. The trial record is replete
20    with witness testimony about statements and communications that qualify as textbook
21    Jencks/Rule 26.2 information and yet, inexplicably, were not produced. See, infra. As
22    demonstrated below, these failures have been pervasive and lead to one inescapable

23    conclusion – there has been a deliberate effort by the government to ignore their Jencks
      and Rule 26.2 obligations for the purpose of denying defendant adequate due process
24
      and a fair trial.
25
              Accordingly, pursuant to the Jencks Act and Rule 26.2, Mr. Avenatti requests that
26
      the Court declare a mistrial. In the alternative, Mr. Avenatti requests that the Court
27
      strike the testimony of Joseph Varani, Nshan Taschyan, Judy Regnier, Patrick
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                                                    2
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 1    McNicholas, Thomas Hurrell, Geoffrey Johnson, Thomas Goeders, Carlos Colorado, and
 2    Joel Weiner as required under the Act and the rule. Further, pursuant to the Supreme
 3    Court’s holding in Campbell v. United States, 365 U.S. 85, 95 (1961), Mr. Avenatti
 4    respectfully requests that this Court hold an immediate evidentiary hearing and take

 5    sworn testimony outside the presence of the jury, regarding the text messages, email
      correspondence, and handwritten notes that the government has failed to produce to the
 6
      defendant despite Mr. Avenatti’s repeated requests.
 7
 8
         II.      LEGAL STANDARD
 9
               The Supreme Court’s holding in Jencks v. United States, 353 U.S. 657 (1957), 18
10
      U.S.C. § 3500 (the “Jencks Act”), and Fed. R. Crim. P. 26.2 are all clear as to the
11
      requirement of production of witness statements immediately after a government witness
12
      testifies. Equally clear are the consequences for non-compliance – striking a witness’s
13
      testimony and/or ordering a mistrial. Indeed, under the clear language of the Act and the
14    Rule, once a violation is discovered, the Court is required to either strike the testimony
15    or declare a mistrial. See, e.g., Rule 26.2(e) (“Sanction for Failure to Produce or Deliver
16    a Statement. If the party who called the witness disobeys an order to produce or deliver a
17    statement, the court must strike the witness's testimony from the record. If an attorney
18    for the government disobeys the order, the court must declare a mistrial if justice so
19    requires.”)(emphasis added); 18 U.S.C. § 3500(d) (“If the United States elects not to
20    comply with an order of the court under subsection (b) or (c) hereof to deliver to the
21    defendant any such statement, or such portion thereof as the court may direct, the court
22    shall strike from the record the testimony of the witness, and the trial shall proceed

23    unless the court in its discretion shall determine that the interests of justice require that a
      mistrial be declared.”)(emphasis added).
24
               The Jencks Act requires the government to produce all statements “which relate to
25
      the subject matter as to which the witness [will] testif[y].” 18 U.S.C. § 3500(b).
26
      Importantly, “the statement need relate only generally to the events and activities
27
      testified to by the witness to come within [the] sweep” of 18 U.S.C. § 3500. United
28
                                                     3
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 1    States v. Bibbero, 749 F.2d 581, 585 (9th Cir. 1984)(emphasis added). “The act requires
 2    the government, upon the defendant’s motion, to produce statements made by any of its
 3    witnesses which the particular witness signed, adopted or approved, and which pertain
 4    to their testimony at trial. The hope is that these statements will afford the defense a

 5    basis for effective cross-examination of government witnesses and the possible
      impeachment of their testimony . . .” United States v. Kimoto, 588 F.3d 464, 475 (7th
 6
      Cir. 2009)(emphasis added)(citing United States v. Johnson, 200 F.3d 529, 534 (7th Cir.
 7
      2000)(internal citations omitted).” See also, Fed.R.Crim.P. 26.2(f) (defining “statement”
 8
      to include any “written statement that the witness makes and signs, or otherwise adopts
 9
      or approves,” as well as any substantially verbatim, contemporaneously recorded recital
10
      of the witness’s oral statement)(emphasis added); United States v. Ogbuehi, 18 F.3d 807,
11
      811 (9th Cir. 1994)(“where it is shown that a witness adopted notes that were not
12
      provided to the defendant, court is required to remand so that district court can conduct
13
      an in camera review to determine if the notes are ‘statements’”). Rather than limiting
14    Jencks, the Jencks Act “reaffirms the Jencks case in its holding that provides that a
15    defendant on trial in a criminal prosecution is entitled to relevant and competent reports
16    and statements in possession of the government touching the events and activities as to
17    which a government witness has testified at the trial.” Goldberg v. United States, 425
18    U.S. 94, 96 (1976)(emphasis added); See also, United States v. Bobadilla-Lopez, 954
19    F.2d 519, 524 (9th Cir. 1992)(“the Court has noted explicitly that the legislative history
20    of the Jencks Act indicates clearly that the statute ‘was not intended to limit the Jencks
21    decision”); Palermo v. United States, 360 U.S. 343, 353 n.10 (1959)(“the statute does
22    not provide that inconsistency between the statement and the witness’ testimony is to be

23    a relevant consideration” in determining which statements are to be produced).
            Accordingly, “statements” often include, but are not limited to, notes of witness
24
      interviews (handwritten and typed), audio and video recordings of the witness, and
25
      letters, text messages and emails from the witness, adopted by the witness, or approved
26
      by the witness. The Jencks Act defines statements as (1) writings made by the witness
27
      and signed, adopted or approved by a witness; (2) accounts which are substantially
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 1    verbatim of the witnesses’ oral statements. United States v. Pac. Gas &. Elec. Co., 2016
 2    U.S. Dist. 75467, at *7 (N.D. Cal. 2016).
 3          Emails generally are written statement that the witness makes and signs, or
 4    otherwise adopts or approves. See United States v. Hamilton, 2012 U.S. Dist. LEXIS

 5    167591, at *18 (W.D. Wash. 2012); citing Fed. R. Crim. P. 26.2(f)(1); 18 U.S.C.
      3500(e)(1); United States v. Toilolo, 2015 U.S. Dist. LEXIS 85100, *30-31 (D. Haw.
 6
      2015)(e-mail communications should have been provided to the defendant as Jencks and
 7
      Giglio material as the e-mails were the witness’ statements). A text message similarly
 8
      often meets the definition of a “statement” as defined by the Jencks Act. United States v.
 9
      Losch, 2019 U.S. Dist. LEXIS 208926, at *6 (D. Az. 2019)(“the Court agrees that a text
10
      message may meet the definition of ‘statement’ as outlined in the Jencks Act.”). Even
11
      statements regarding “meeting times, meeting locations, and other logistical
12
      arrangements may potentially relate to the subject matter of a witness’ testimony.” Id.
13
      The government’s obligations under the Jencks Act extends to statements possessed by
14    the prosecutorial arm of the federal government. United States v. Merlino, 349 F.3d 144,
15    146 (3d Cir. 2003); see also, United States v. Waters, 2006 U.S. Dist. LEXIS 102198, at
16    *4 (W.D. Wash. 2006).
17          In concert with these principles, the United States Department of Justice has
18    directed their prosecutors that “members of the prosecution team should err on the side
19    of preservation when deciding which e-communications to preserve for review.” James
20    M. Cole, DOJ Guidance on the Use, Preservation, and Disclosure of Electronic
21    Communications in Federal Criminal Cases (March 30, 2011). This includes substantive
22    e-communications created or received in the course of an investigation and prosecution

23    and those communications sent to or received from potential witnesses who are not law
      enforcement personnel. Id. Even logistical communications may be discoverable when
24
      their content includes Brady, Giglio, Jencks or Rule 16 content. Id. at p. 8.
25
            Further, handwritten notes taken by government agents “in interviews with
26
      prospective government witnesses may contain such statements.” United States v.
27
      Pisello, 877 F2d 762 (9th Cir. 1989); citing United States v. Harris, 543 F.2d 1247, 1252
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 1    (9th Cir. 1976). It is sometimes the case that “because the typed memorandum contain
 2    Jencks statements, the handwritten notes from which the memoranda derive also must
 3    contain Jencks statements… the district court could determine, based on an in camera
 4    inspection of the handwritten notes, whether the handwritten notes are Jencks Act

 5    materials.” United States v. Pisello, 877 F2d 762, 769 (9th Cir. 1989)(H. Pregerson,
      dissenting).
 6
            In addition, notes taken by the FBI or other law enforcement agencies during
 7
      interviews with prospective government witnesses or with the accused “constitute
 8
      potentially discoverable materials.” United States v. Harris, 543 F.2d 1247, 1248 (9th
 9
      Cir. 1976); See also, United States v. Harrison, 524 F.2d 421 (D.C. Cir. 1975). Rough
10
      notes may be used to impeach a witness, may showcase discrepancies between the notes
11
      and the typed summaries, and the notes’ value is not diminished where “the notes form
12
      the basis of a final report that the prosecution turns over to the defense.” United States v.
13
      Andrews, 532 F.3d 900, 906 (D.C. Cir. 2008). In United States v. Serv. Deli, 151 F.3d
14    938 (9th Cir. 1998), the Defendant was tried and convicted of filing a false statement
15    with the United States Defense Commission Agency. On appeal, the Defendant argued
16    that the trial court erred by refusing to require the government to produce all of its
17    handwritten notes taken during interviews. Prior to denying the Defendant’s request, the
18    trial court reviewed the relevant handwritten notes and compared them to the summary
19    of interview produced by the government and found that there was nothing in the notes
20    that was “material to the matter at hand…” Id. at 943. The Ninth Circuit reviewed the
21    relevant hand-written notes and determined there were discrepancies between the notes
22    and the typewritten summaries. The court then determined, “the government violated the

23    due process rights of defendant by failing to disclose material information contained in
      the … notes.” Id. Defendant was granted a new trial. Id. at 944. The need for handwritten
24
      notes is even more necessary when the government has failed to convert the handwritten
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      notes into adequate typed summaries.
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 1       III.   GOVERNMENT WITNESSES WITH ESTABLISHED VIOLATIONS
 2          1. Joseph Varani
 3          On July 23, 2021, government witness Joesph Varani was called to testify within
 4    his capacity as a senior digital investigative analyst at the DOJ Cyber Crime Lab. See,

 5    e.g., Trial Tr. (7/23/21, Vol. 1), p. 10. Mr. Varani indicated that he had been working on
      this investigation and criminal prosecution off and on since 2019. See, e.g., Trial Tr.
 6
      (7/23/21, Vol. 1), p. 22. Mr. Varani affirmatively responded “yes” to the question, “and
 7
      during that two-year time period, did you have written communications with other
 8
      individuals and the government about your work in this case?” See, e.g., Trial Tr.
 9
      (7/23/21, Vol. 1), p. 22. He also indicated that he sent and received emails about this
10
      case with other government agents but was never asked to gather his written
11
      communications that he drafted in connection with this case. See, e.g., Trial Tr. (7/23/21,
12
      Vol. 1), p. 22-24.
13
            Mr. Avenatti has not been provided any e-mail communications between Mr.
14    Varani and members of the prosecution/investigation teams involving this case or the
15    subject of his testimony. Prior to beginning his cross-examination, Mr. Avenatti received
16    a single, one-page report from the government as it relates to Mr. Varani. Despite Mr.
17    Varani’s work on this case for over two years and his vast communications, the
18    government produced only a single page from a July 20, 2021 interview where Mr.
19    Varani described his work on government exhibits 115 and 116. The e-mail
20    communications and other written reports generated and/or written by Mr. Varani are
21    statements that were required to be pursuant to the Jencks Act and Rule 26.2. Instead, the
22    government ignored their obligations.

23          2. Nshan Taschyan
            On July 22, 2021, Special Agent Nshan Taschyan of the IRS Criminal
24
      Investigation Division was called to testify as a government witness. See, e.g., Trial Tr.
25
      (7/22/21, Vol. 2), p. 67. Special Agent Taschyan testified in connection with his position
26
      as a computer investigative specialist and his role in performing forensic analysis on
27
      various electronics at issue in this case. During cross-examination, Special Agent
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                                                   7
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 1    Taschyan indicated that he had been working on the investigation of this case since
 2    2019. See, e.g., Trial Tr. (7/22/21, Vol. 2), p. 90. During this time, Special Agent
 3    Taschyan “most likely” generated e-mails and text messages with others about his work
 4    in connection with this case. See, e.g., Trial Tr. (7/22/21, Vol. 2), p. 91. He stated that

 5    the communications, “they would have been e-mails. They might have been e-mails with
      prosecutors or agents” in connection with this case and issues related to his testimony.
 6
      See, e.g., Trial Tr. (7/22/21, Vol. 2), p. 91.
 7
            Mr. Avenatti has not been provided any e-mail communications between Special
 8
      Agent Tashchyan and other members of the prosecution/investigation teams involving
 9
      this case or the subject of his testimony. These should have been produced before cross-
10
      examination began and yet were not. Instead, it appears that the government made no
11
      effort to comply with their obligations under the Jencks Act and Rule 26.2.
12
            3. Judy Regnier
13
            On July 29, 2021, through cross examination, it was revealed that government
14    witness Ms. Judy Regnier exchanged text message correspondence with government
15    agents during the pendency of this case, beginning in 2019. Ms. Regnier testified that she
16    believed that she exchanged text messages with government agents or Assistant U.S.
17    Attorneys. See, e.g., Trial Tr. (7/29/21, Vol. 1) p. 66-67. Ms. Regnier later testified that
18    she did not have access to the text messages any longer and she had previously “texted
19    with Ramon [Karlous], and I don’t remember the names of other people.” See, e.g., Trial
20    Tr. (7/29/21, Vol. 1) p. 66-67.
21          On July 22, 2021, AUSA Sagel and Special Agents Roberson and Karlous spoke
22    with Ms. Regnier via teleconference. The meeting lasted 13 minutes and a typed

23    memorandum was produced. Aside from relaying that Mr. Avenatti had chosen to
      represent himself, the report conveyed that “No new information was provided by JR.”
24
      See e.g., Exhibit A – Interview Memorandum of Judy Regnier.
25
            Mr. Avenatti has not been provided any text message correspondence between
26
      Ms. Regnier, any government agent or any Assistant United States Attorney. On July 30,
27
      2021, Mr. Avenatti filed another submission regarding the failure of the government to
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                                                       8
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 1    produce these statements. [Dkt. 609]. Mr. Avenatti renews the objections and requests
 2    for relief that were filed within those pleadings as well.
 3          Further, Mr. Avenatti asks that the Court order the government to produce to the
 4    Court the notes from the July 22, 2021 interaction in order for the Court to perform an

 5    in-camera review to determine whether any information was provided to the prosecution
      team during that meeting. Any handwritten notes in connection with this interview are,
 6
      by their very nature, not captured by the language of the report which says no new
 7
      information was provided. Unless the handwritten notes only read “no new information
 8
      was provided,” they likely contain variations in statements, inconsistencies, and other
 9
      information that by their very nature were not captured by the conclusory report.
10
            4. Patrick McNicholas
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            On July 21, 2021, the government called Patrick McNicholas to testify regarding
12
      his work on the civil matter involving Geoffrey Johnson where Mr. McNicholas served
13
      as co-counsel alongside Mr. Avenatti. During the cross-examination of Mr. McNicholas,
14    it was revealed that he met with the government on two occasions and communicated
15    with the government between five and ten times. See, e.g., Trial Tr. (7/21/21, Vol. 2), p.
16    10. Mr. McNicholas also stated that he had e-mail communications with the government.
17    See, e.g., Trial Tr. (7/21/21, Vol. 2), p. 11. During cross-examination, Mr. McNicholas
18    was asked about his meeting with the government on July 12, 2021. See, e.g., Trial Tr.
19    (7/21/21, Vol. 2), p. 16. Mr. McNicholas stated that during the 1.5 hour meeting, he
20    reviewed the same documents and went over them with the prosecution team in
21    preparation for trial. See, e.g., Trial Tr. (7/21/21, Vol. 2), p. 18. Mr. McNicholas
22    indicated that despite going over similar topics, it was possible that his answers may

23    have included “different language” and agreed with the notion that “no one ever gives
      the exact same answer twice….” See, e.g., Trial Tr. (7/21/21, Vol. 2), p. 18-20.
24
            On July 12, 2021, AUSAs Sagel and Wyman, along with Special Agents
25
      Roberson, Kim and Karlous met with Mr. McNicholas in preparation for his testimony at
26
      trial. A report was produced in connection with this meeting. The report showed that the
27
      meeting lasted from 3:32 until 5:00 p.m. The report reads as follows: “In addition to
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                                                    9
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 1    information McNicholas already provided in prior interviews, McNicholas voluntarily
 2    provided the following additional information: No new information was provided by
 3    McNicholas.” See e.g., Exhibit B – Interview Memorandum of Patrick McNicholas.
 4          Mr. McNicholas’ testimony established that he agreed that witnesses, including

 5    himself, rarely provide the same answers twice. It is unreasonable to believe that Mr.
      McNicholas provided the same information to the prosecution on each of his meetings
 6
      with the government and provided no information during an interview that took place for
 7
      nearly an hour and a half. More importantly, the obligation of the government under the
 8
      Jencks Act and Rule 26.2 to produce all statements of a witness does not hinge in any
 9
      way on the government’s determination of whether “new information” was provided in
10
      the statement. The obligation is to produce all statements, regardless of whether
11
      anything is “new” in the statement according to the government. Indeed, a repeated false
12
      statement concerning an alleged fact by a witness on multiple occasions may be far more
13
      useful on cross-examination than any piece of new information.
14          Mr. Avenatti has not been provided any email correspondence between Mr.
15    McNicholas, his agents and members of the prosecution team involving the substance of
16    this testimony since April 9, 2019. These materials, if they exist, are “statements” as
17    defined by Jencks and Rule 26.2 and should have been produced.
18          Further, Mr. Avenatti asks that the Court order the government to produce to the
19    Court the notes from the July 12, 2021 interview in order for the Court to perform an in-
20    camera review to determine whether any information was provided to the prosecution
21    team during that meeting. Any handwritten notes in connection with this interview are,
22    by their very nature, not captured by the language of the report which says no new

23    information was provided. Unless the handwritten notes only read “no new information
      was provided,” they likely contain variations in statements, inconsistencies, and other
24
      information that by their very nature were not captured by the conclusory report.
25
            5. Thomas Hurrell
26
            On July 21, 2021, Attorney Thomas Hurrell was called as a government witness.
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      See, e.g., Trial Tr. (7/21/21, Vol. 2), p. 68. Mr. Hurrell testified in connection with his
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 1    representation of the County of Los Angeles as it related to Mr. Geoffrey Johnson’s
 2    underlying civil lawsuit. See, e.g., Trial Tr. (7/21/21, Vol. 2), p. 69. Mr. Hurrell indicated
 3    that there have been “quite a few communications over the course of time this case has
 4    been pending” with the government. See, e.g., Trial Tr. (7/21/21, Vol. 2), p. 106. Mr.

 5    Hurrell testified that he had approximately “seven or eight” communications with
      members of the prosecution team and “five or six” of them “were just by e-mail.” See,
 6
      e.g., Trial Tr. (7/21/21, Vol. 2), p. 107.
 7
            On July 14, 2021, AUSAs Wyman as well as Special Agents Roberson and Kim
 8
      met with Thomas Hurrell by way of teleconference. A report was produced after this
 9
      interview. The report indicated that the meeting lasted 39 minutes and “Hurrell
10
      voluntarily provided the following additional information: No new information was
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      provided by Hurrell.” See e.g., Exhibit C – Interview Memorandum of Thomas Hurrell.
12
      Mr. Avenatti has only been provided four e-mail chains between Mr. Hurrell and the
13
      prosecution that occurred in April of 2020, November of 2020, June of 2020 and
14    February of 2021 despite Mr. Hurrell’s testimony that he communicated with the
15    government on five or six occasions.
16          Further, Mr. Avenatti asks that the Court order the government to produce to the
17    Court the notes from the July 21, 2021 interview in order for the Court to perform an in-
18    camera review to determine whether any information was provided to the prosecution
19    team during that meeting. Any handwritten notes in connection with this interview are,
20    by their very nature, not captured by the language of the report which says no new
21    information was provided. Unless the handwritten notes only read “no new information
22    was provided,” they likely contain variations in statements, inconsistencies, and other

23    information that by their very nature were not captured by the conclusory report.
            6. Geoffrey Johnson
24
            On July 22, 2021, government witness Geoffrey Johnson was called to testify
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      regarding his former attorney-client relationship with Mr. Avenatti. See, e.g., Trial Tr.
26
      (7/22/21, Vol. 1) p. 27. During Mr. Johnson’s testimony, Mr. Johnson indicated that he
27
      previously met with the government on July 19, 2021, three days prior to his appearance
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                                                    11
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 1    at trial. See, e.g., Trial Tr. (7/22/21, Vol. 2) p. 47-48. Mr. Avenatti was provided a report
 2    in connection with this interview, which was authored by Special Agent Roberson. The
 3    report indicated that the meeting lasted from 9:30 a.m. until 11:12 a.m. AUSAs Wyman
 4    and Sagel as well as Special Agents Roberson and Karlous were present during the

 5    interview. Despite the nearly 2 hour inquiry, Special Agent Roberson notes merely state,
      “In addition to information Johnson already provided in a prior interview, Johnson
 6
      voluntarily provided the following additional information: No new information was
 7
      provided by Johnson.” See e.g., Exhibit D – Interview Memorandum of Geoffrey
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      Johnson.
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            Mr. Avenatti asks that the Court order the government to produce to the Court the
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      notes from the July 19, 2021 interaction in order for the Court to perform an in-camera
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      review to determine whether any information was provided to the prosecution team
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      during that meeting. Any handwritten notes in connection with this interview are, by
13
      their very nature, not captured by the language of the report which says no new
14    information was provided. Unless the handwritten notes only read “no new information
15    was provided,” they likely contain variations in statements, inconsistencies, and other
16    information that by their very nature were not captured by the conclusory report.
17          7. Thomas Goeders
18          On July 23, 2021, the government called Thomas Goeders testified as a witness.
19    Mr. Goeders testified that he works as a real estate agent and worked with Mr. Aveantti
20    in connection with Geoffrey Johnson. See, e.g., Trial Tr. (7/23/21, Vol. 2), p. 31.
21          In connection with his prior communications with members of the prosecution
22    team, Mr. Goeders testified that between April 1, 2019 and June 2021, he had contact

23    with members of “the federal government relating to [Mr. Avenatti] or this case.” See,
      e.g., Trial Tr. (7/23/21, Vol. 2), p. 100-101. Mr. Goeders indicated that he had multiple
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      e-mail “communications with any member of the government’s prosecution or
25
      investigative team … as it relates to the topics in this case, including [his] work on the
26
      real estate transactions.” See, e.g., Trial Tr. (7/23/21, Vol. 2), p. 100-102.
27
            Mr. Avenatti has only been provided a single e-mail string between Mr. Goeders
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 1    and the government from July of 2021. The other e-mail correspondence referenced by
 2    Mr. Goeders was required to be produced before Mr. Avenatti began his cross-
 3    examination but was not and remains unproduced.
 4          8. Carlos Colorado

 5          On July 23, 2021, attorney Carlos Colorado testified as a government witness
      regarding his prior working relationship with the defendant. See, e.g., Trial Tr. (7/23/21,
 6
      Vol. 1) p. 32. Mr. Colorado testified that he met with the government in September of
 7
      2019 for over three hours. See, e.g., Trial Tr. (7/23/21, Vol. 1) p. 32. In addition to this
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      meeting, AUSAs Sagel and Wyman along with Special Agents Kim and Karlous met
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      with Mr. Colorado on July 1, 2021 at approximately 4:30 p.m. A memorandum was
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      produced in connection with this meeting. It is unknown how long this meeting lasted as
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      Agent Kim did not include the length of the interview or the time the interview was
12
      concluded. Agent Kim indicated, “No new information was provided by Colorado.”
13
      There was no reference to any questions posed, documents reviewed or statements made
14    by Colorado. See e.g., Exhibit E – Interview Memorandum of Carlos Colorado.
15          Mr. Avenatti asks that the Court order the government to produce to the Court the
16    notes from the July 23, 2021 interview in order for the Court to perform an in-camera
17    review to determine whether any information was provided to the prosecution team
18    during that meeting. Any handwritten notes in connection with this interview are, by
19    their very nature, not captured by the language of the report which says no new
20    information was provided. Unless the handwritten notes only read “no new information
21    was provided,” they likely contain variations in statements, inconsistencies, and other
22    information that by their very nature were not captured by the conclusory report.

23          9. Joel Weiner
            On July 29, 2021, attorney Mr. Weiner was called to testify as a government
24
      witness. See, e.g., Trial Tr. (7/29/21, Vol. 2) p. 68. Mr. Weiner testified regarding his
25
      representation of Hassan Whiteside in the civil suit involving alleged victim Alexis
26
      Gardner. On July 30, 2021, Mr. Avenatti cross-examined Mr. Weiner. During a break, in
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      the middle of Mr. Weiner’s testimony, the defendant informed the Court that he had only
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                                                    13
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 1    received a single memorandum of interview that took place on July 6, 2021. See, e.g.,
 2    Trial Tr. (7/30/21, Vol. 1) p. 56. Mr. Avenatti alerted the Court that the defendant had
 3    “no memorandum of interview or notes from any interview of Mr. Weiner that took
 4    place in 2019 or 2020” despite Mr. Weiner’s just-provided testimony that he did have

 5    communications with the government during this period. See, e.g., Trial Tr. (7/30/21,
      Vol. 1) p. 56-57. AUSA Brett Sagel represented to the Court that earlier communications
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      with Mr. Weiner “were to obtain the records of the settlement agreement…” and for
 7
      other logistical purposes. See, e.g., Trial Tr. (7/30/21, Vol. 1) p. 57. Mr. Avenatti
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      continued to object to this representation claiming that there was obviously additional e-
 9
      mail correspondence that should have been provided pursuant to Jencks and 26.2.
10
            In connection with the other email communications between Mr. Weiner and
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      government agents, regarding the substance of the case, the Court indicated, “[t]he
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      representation was that any Jencks material, that is, communications between the
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      government and Mr. Weiner that go to the substance of the case, were produced. I would
14    ask the government if there are e-mails that don’t fall in that category, present it to the
15    Court for in-camera review.” See, e.g., Trial Tr. (7/30/21, Vol. 1) p. 63. Mr. Avenatti
16    indicated to the Court at that time that he did not wish to limit his demand to e-mail
17    communications and renews that position now.
18
19       IV.    RELIEF REQUESTED
20          It is “the function of the trial court to determine the issue of producibility, i.e., to
21    decide whether the notes in question constitute a ‘statement’ within the meaning of the
22    Act.” United States v. Johnson, 521 F.2d 1318, 1319 (9th Cir. 1975)(holding that

23    because “the notes may have constituted a Jencks Act statement was sufficient to trigger
      further investigation” the trial court erred in conducting no additional inquiry - the
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      conviction was vacated and remanded). Critically, based on considerations of fairness,
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      the law “does not place the burden upon a litigant of establishing facts peculiarly within
26
      the knowledge of his adversary.” First Cmty. Bank v. Gaughan (In Re Miller), 853 F.3d
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      508, 518, n.4 (9th Cir. 2017).
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 1          Despite this, however, Mr. Avenatti has successfully made a prima facie showing
 2    that of the eleven government witnesses that have testified thus far, the government
 3    failed to adhere to their obligations under the Jencks Act and Rule 26.2 for at least nine
 4    of the witnesses. Several of these witnesses testified under oath that they engaged in text

 5    message and/or e-mail correspondence with the government about this case.
      Additionally, several witnesses testified that they met with members of the prosecution
 6
      team and made statements about this case that were not produced. It is also unreasonable
 7
      to believe that a meeting with a witness, often exceeding an hour, would result in
 8
      absolutely no information. In the alternative, it is nearly impossible that a witness would
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      provide the same statements verbatim with no variation in their language that could
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      qualify as Giglio information. Further, a repeated false statement concerning an alleged
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      fact by a witness on multiple occasions may be far more useful on cross-examination
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      than any piece of new information.
13
            The mandated relief described in Rule 26.2(e) and 18 U.S.C. § 3500(d) could not
14    be more clear - “Sanction for Failure to Produce or Deliver a Statement. If the party who
15    called the witness disobeys an order to produce or deliver a statement, the court must
16    strike the witness's testimony from the record. If an attorney for the government disobeys
17    the order, the court must declare a mistrial if justice so requires”(emphasis added) and
18    “If the United States elects not to comply with an order of the court under subsection (b)
19    or (c) hereof to deliver to the defendant any such statement, or such portion thereof as
20    the court may direct, the court shall strike from the record the testimony of the witness,
21    and the trial shall proceed unless the court in its discretion shall determine that the
22    interests of justice require that a mistrial be declared”(emphasis added). See also, United

23    States v. Well, 572 F.2d 1383, 1384 (9th Cir. 1978) (holding that if the “government fails
      to produce such statements, the court is required to strike the testimony of the
24
      witness.”).
25
            Moreover, a trial judge’s failure to impose sanctions upon the government for
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      noncompliance with the Jencks Act, whether intentional or not, has been found to
27
      constitute error. In other words, when a statement is not furnished by the government for
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 1    whatever reason pursuant to a Jencks Act request from the defense, the provisions of §
 2    3500(d) come into operation and require, at a minimum, the striking of the witness’s
 3    testimony. United States v. Well,572 F.2d 1383 (9th Cir. 1978); United States v.
 4    Harris, 543 F.2d 1247 (9th Cir. 1976); United States v. Carrasco, 537 F.2d 372 (9th Cir.

 5    1976).
            The Supreme Court’s ruling in Campbell v. United States, 365 U.S. 85, 95 (1961)
 6
      is likewise instructive. There, the Court found that the lower court had committed error
 7
      in failing to conduct an adequate inquiry after the defendant’s cross examination of a
 8
      government witness, as in this case, had “shown a prima facie case of their entitlement to
 9
      a statement . . .” The Court was clear in holding that “at least, the judge should have
10
      required the Government to come forward with sufficient evidence to answer that case.”
11
      Id. at 96 (emphasis added). Instead, in response to the showing on cross-examination that
12
      a statement may not have been properly supplied to the defendant, the “trial judge
13
      conducted an inquiry without the jury present to take testimony and hear argument of
14    counsel. Plainly enough this was a proper, even a required, proceeding in the
15    circumstances.” Id. at 93. (emphasis added). But the Court failed to call the agent to
16    testify, which the Supreme Court found was error. The Court noted that the government
17    agent was the “obvious witness to call” and that the inquiry was a “proceeding necessary
18    to aid the judge to discharge the responsibility laid upon him to enforce the statute.” As
19    a result, the case was remanded to the district court for additional proceedings in order to
20    determine whether a Jencks violation supported the defendant’s motion to strike.
21          Mr. Avenatti was entitled to production of every statement for every witness as
22    required by the Jencks Act and Rule 26.2 and he was entitled to receive such materials

23    before he began his cross-examination. Having failed to produce the materials as
      required, and having repeatedly violated Mr. Avenatti’s right to due process, the
24
      government must now suffer the consequences outlined in the Act and the rule. At a
25
      minimum, this requires the striking of the testimony of the nine witnesses listed above.
26
      Due to the pervasive nature of the government’s failures, however, coupled with the
27
      importance of the witnesses, justice requires that that Court declare a mistrial. No other
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                                                   16
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 1    reasonable or permissible remedy exists.1
 2              Further, pursuant to the Supreme Court’s holding in Campbell v. United States,
 3    365 U.S. 85, 95 (1961), Mr. Avenatti respectfully requests that this Court hold an
 4    immediate evidentiary hearing and take sworn testimony outside the presence of the jury

 5    regarding the text messages, email correspondence, and handwritten notes that the
      government has failed to produce to the defendant despite Mr. Avenatti’s repeated
 6
      requests.
 7
           V.      CONCLUSION
 8
                For each of the reasons set forth above, Mr. Avenatti requests that the Court
 9
      declare a mistrial. In the alternative, Mr. Avenatti requests that the Court strike the
10
      testimony of Joseph Varani, Nshan Taschyan, Judy Regnier, Patrick McNicholas,
11
      Thomas Hurrell, Geoffrey Johnson, Thomas Goeders, Carlos Colorado, and Joel Weiner
12
      as required under the Act and the rule. Further, pursuant to the Supreme Court’s holding
13
      in Campbell v. United States, 365 U.S. 85, 95 (1961), Mr. Avenatti respectfully requests
14    that this Court hold an immediate evidentiary hearing and take sworn testimony outside
15    the presence of the jury.
16
17        Dated: August 2, 2021                    Respectfully submitted,
18
                                                   /s/ Michael J. Avenatti
19
20
                                                   Defendant
21                                                 MICHAEL JOHN AVENATTI
22
      1 The Court previously made reference to recalling Ms. Regnier if Jencks violations
23
      were found to have occurred. This is contrary to the relief required under the Act and
24    the rule and does not cure the prejudicial impact of the government’s misconduct. There
      is a reason why the Act and the rule require production of the material before cross-
25
      examination begins – namely so that a defendant can make strategic choices on how to
26    conduct the examination, what questions and themes to use, which exhibits to inquire
27
      about and the direction in which to take the defense. By repeatedly failing to adhere to
      their obligations, the government deprived Mr. Avenatti of the ability to make informed
28    choices as to his defense and violated his fundamental right to due process.
                                                   17
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27                          Exhibit A (Under Seal)
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27                          Exhibit B (Under Seal)
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27                          Exhibit C (Under Seal)
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27                          Exhibit D (Under Seal)
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27                          Exhibit E (Under Seal)
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 1
                                   CERTIFICATE OF SERVICE

 2          I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
 3
      age. My business address is 17 Corporate Plaza, Suite 254 in Newport Beach, California
 4
 5    92660. I am not a party to the above-entitled action. I have caused, on August 2, 2021,

 6    service of the:
 7
          DEFENDANT’S MOTION FOR MISTRIAL OR, IN THE ALTERNATIVE, TO
 8        STRIKE THE TESTIMONY OF NINE GOVERNMENT WITNESSES DUE TO
 9                 VIOLATIONS OF THE JENCKS ACT AND RULE 26.2

10
      on the following party, using the Court’s ECF system:
11
12    AUSA BRETT SAGEL AND AUSA ALEXANDER WYMAN

13    I declare under penalty of perjury that the foregoing is true and correct.
14
      Executed on August 2, 2021
15
16                                            /s/ H. Dean Steward
17                                            H. Dean Steward
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